Case 2:18-cv-09619-JAK-JPR Document 17 Filed 01/18/19 Page 1 of 2 Page ID #:214




   1
   2
   3
   4
   5
   6
   7
   8                    UNITED STATES DISTRICT COURT
   9                   CENTRAL DISTRICT OF CALIFORNIA
 10
 11 MARTHA CABRERA,                           Case No. 2:18-cv-09619-JAK (JPRX)

 12             Plaintiff,
                                              ORDER RE STIPULATION TO
 13        v.                                 ARBITRATE AND STAY ACTION

 14 CITIBANK, N.A.; and DEPARTMENT            JS-6: Stayed / Inactive Calendar
    STORES NATIONAL BANK
 15
                    Defendants.
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
Case 2:18-cv-09619-JAK-JPR Document 17 Filed 01/18/19 Page 2 of 2 Page ID #:215



   1         PURSUANT TO THE STIPULATION OF THE PARTIES, IT IS SO
   2 ORDERED THAT:
   3         1.    The Stipulation is GRANTED;
   4         2.    This action is ordered stayed and placed on the Court’s inactive
   5 calendar pending arbitration. All claims in this action shall be submitted to binding
   6 arbitration before the American Arbitration Association, pursuant to the terms of the
   7 arbitration agreement contained in the credit card agreements, attached to the
   8 Stipulation as composite Exhibit 1; and
   9         3.    Counsel shall file a joint status report every 90 days, or within 5 days
 10 of a decision by the arbitrator, whichever is to occur first. The joint report shall
 11 include the status of the arbitration and whether this action shall remain on the
 12 Court’s inactive calendar. The first joint report shall be filed by April 18, 2019.
 13 IT IS SO ORDERED.
 14
 15
       Dated: January 18, 2019
 16
                                                 JOHN A. KRONSTADT
 17                                              UNITED STATES DISTRICT JUDGE
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
